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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                      8:18CB8
                                                            Violation No.: NE22 6253446
       vs.
                                                         ORDER TO DISMISS WARRANT
TRAVIS W. POLAN,

                      Defendant.


               This matter is before the Court on the United States’ Motion for Dismissal of the

warrant issued in the above captioned case [12]. The Court, being duly advised in the premises,

finds that said Motion should be sustained.

      FURTHER, the United States’ requests the initial appearance for this matter be

scheduled for September 25, 2018.

       IT IS HEREBY ORDERED:

       The arrest warrant issued for the defendant, TRAVIS W. POLAN, is dismissed.

       IT IS FURTHER ORDERED:

       The initial appearance for the defendant, TRAVIS W. POLAN, is set for September 25,

2018 at 9:00 a.m. The United States shall mail a Notice of Hearing to the defendant.

       Dated this 29th day of August, 2018.



                                               BY THE COURT:

                                               s/ Susan M. Bazis
                                               United States Magistrate Judge
